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         EXHIBIT 116
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1                      UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                            SAN FRANCISCO DIVISION
       ______________________________________________________
4
       RICHARD KADREY, et al.,                   )
5                                                )
              Individual and                     )
6             Representative Plaintiffs, )
                                                 )   3:23-cv-03417-VC
7             vs.                                )
                                                 )
8      META PLATFORMS, INC., a                   )
       Delaware corporation,                     )
9                                                )
                         Defendant.              )
10     ______________________________________________________
11       VIDEO-RECORDED DEPOSITION UPON ORAL EXAMINATION OF
12                             EMILY BENDER, Ph.D.
13                      **CONFIDENTIAL TESTIMONY**
             **Page 195 Line 4 through Page 198 Line 4**
14     ______________________________________________________
15
16                                 9:20 A.M.
17                              FEBRUARY 25, 2025
18                    1215 FOURTH AVENUE, SUITE 1350
19                             SEATTLE, WASHINGTON
20
21
22
23
24     REPORTED BY:     CARLA R. WALLAT, CRR, RPR
25                      WA CCR 2578, OR CSR 16-0443, CA CSR 14423

                                                                      Page 1

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                        Calendar-CA@veritext.com 866-299-5127
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1     several times, "On the Dangers of Stochastic Parrots,                     11:24AM

2     Can Language Models Be Too Big."                                          11:24AM

3             A.     Yes.                                                       11:25AM

4             Q.     Could you describe briefly what you mean by                11:25AM

5     "stochastic parrots"?                                                     11:25AM

6             A.     Yes.   So stochastic parrots is a phrase that I            11:25AM

7     actually coined as we were writing that paper.                  And it    11:25AM

8     is a way to make vivid what's happening with the output                   11:25AM

9     of a large language model when it is used to synthesize                   11:25AM

10    text.        This is before I came up with the phrase                     11:25AM

11    "synthetic text extruding machines" which describes the                   11:25AM

12    same thing.                                                               11:25AM

13                   So "parrot" there references the English verb              11:25AM

14    to "parrot," which we use often to refer to repeating                     11:25AM

15    something without understanding it.             But "stochastic"          11:25AM

16    means randomly according to a probability distribution.                   11:25AM

17    And so what's coming out of a large language model is                     11:25AM

18    not necessarily directly something that was in the                        11:25AM

19    training data.                                                            11:25AM

20                   And at the same time, it's not new ideas, but              11:25AM

21    it is a stochastic remix.          It's not even ideas, it's              11:25AM

22    just collections of words that we interpret to be ideas                   11:25AM

23    and it's a stochastic remix of what was in the training                   11:25AM

24    data.                                                                     11:25AM

25            Q.     When text is generated by a large language                 11:26AM

                                                                           Page 76

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1                            REPORTER'S CERTIFICATE

2              I, CARLA R. WALLAT, CCR, CSR, RPR, CRR, the undersigned

3      Certified Court Reporter, authorized to administer oaths and

4      affirmations in and for the states of Washington (2578),

5      Oregon (16-0443), and California (14423) do hereby certify:

6              That the sworn testimony and/or proceedings, a

7      transcript of which is attached, was given before me at the

8      time and place stated therein; that any and/or all witness(es)

9      were duly sworn to testify to the truth; that the sworn

10     testimony and/or proceedings were by me stenographically

11     recorded and transcribed under my supervision.            That the

12     foregoing transcript contains a full, true, and accurate

13     record of all the sworn testimony and/or proceedings given and

14     occurring at the time and place stated in the transcript; that

15     a review of which was not requested; that I am in no way

16     related to any party to the matter, nor to any counsel, nor do

17     I have any financial interest in the event of the cause.

18             WITNESS MY HAND AND DIGITAL SIGNATURE this 6th day of

19     March 2025.

20

21

22

       <%19863,Signature%>

23     CARLA R. WALLAT, RPR, CRR

       Washington CCR #2578, Expires 1/5/2026

24     Oregon CSR #16-0443, Expires 9/30/2027

       California CSR #14423, Expires 1/31/2026

25

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